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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            PINE BLUFF DIVISION


AUSTIN JAY BURNS, ADC # 551922                                                     PLAINTIFF

v.                                  NO. 5:17CV00223 JLH/JTR

KEDRICK R. AVERY, et al.                                                 DEFENDANTS

                    DEFENDANT’S PRETRIAL DISCLOSURES

        For his Pretrial Disclosures, Defendant Kedrick Avery, by and through his

attorneys, Attorney General Leslie Rutledge and Assistant Attorney General Vincent P.

France, sets forth the following:

1.      The identity of the party submitting information

        Vincent P. France, attorney for Defendant Avery.

2.      The names, addresses and telephone numbers of all counsel for the
        Defendant

        Assistant Attorney General Vincent P. France, Ar. Bar No. 2010063
        Senior Assistant Attorney General William C. Bird, Ar. Bar No. 2005149
        323 Center Street, Suite 200
        Little Rock, AR 72201-2610
        (501) 682-2007

3.      A brief summary of claims and relief sought

        One claim remains in this case: Plaintiff Burns claims that on April 11, 2017, that

Defendant Kedrick Avery used excessive force against him, when he deployed a second

round of pepper-spray while extracting Plaintiff and his cellmate from their cell.

Defendant Avery denies the allegations against him.

        Plaintiff Burns seeks compensatory damages.




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4.      Prospects for settlement:

        The parties have not discussed settlement options; however, at this time,

Defendant Avery does not anticipate this matter settling.

5.      The basis for jurisdiction or objections to jurisdiction:

        This Court has jurisdiction over the present action pursuant to 42 U.S.C. § 1983.

6.      A list of pending motions:

        No motions are currently pending.

7.      A concise summary of facts:

        Austin Burns (ADC # 551922), is currently an inmate with the Arkansas

Department of Correction. On April 11, 2017, Austin Burns was housed in administrative

segregation at the Cummins Unit for assaulting an inmate. Burns admitted that he has a

history of assaulting prison guards. At that time, Kedrick Avery was a lieutenant for the

ADC at the Cummins Unit. On April 11, 2017, several officers reported that the inmates

in cell East 15, which was Inmate Burns’ cell, had thrown urine on them (referred to as

“dashing”). After learning about the other guards having urine thrown on them by the

inmates in cell East 15, Lt. Avery went to the cell and he too had urine thrown on him.

Then, Lt. Avery assembled a team to extract Burns and his cellmate from their cell.

        Before the guards arrived at his cell, Burns placed the mat from his bed at the

back of the cell and hunkered down behind it and waited for the guards to arrive. A copy

of video of the cell extraction of Burns is filed under seal. The video shows that a mat

had been placed on the bars of the cell prior to guards arriving at the cell. Lt. Avery tells

Burns and Phillips multiple times to come forward to be cuffed or he will deploy pepper

spray into the cell. Burns admits that he refused to “catch the cuffs” (meaning to come to



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the cell door so the inmate can be placed in handcuffs). After Burns and Phillips refuse to

come forward, Lt. Avery deploys the pepper-spray into the cell. The video shows that

Burns and Phillips continued to hide behind the mat for approximately twenty seconds

and the two inmates refuse to come forward to be cuffed. Lt. Avery again tells Burns and

Phillips to step forward to be handcuffed. A flash grenade is then deployed into the cell.

Burns testified that he and Inmate Phillips continued to refuse to be cuffed and continued

to barricaded themselves behind the mat even after pepper-sprayed was deployed into

their cell, which Austin Burns admits is the reason that Lt. Avery used the flash grenade.

Eventually, Burns comes to the front of the cell and Lt. Avery tells him to strip down.

       On this type of cell extraction, before an inmate can be handcuffed, the inmate is

required to strip down naked and squat and cough in order to check that the inmate is not

hiding anything dangerous in his buttocks. Lt. Avery and the other officers tell Burns

multiple times to strip down. Burns testified at his deposition that Lt. Avery told him at

least 10 times to strip down before Lt. Avery deployed a second burst of pepper spray. Lt.

Avery then deploys a second burst of pepper spray. Burns admits that he was not

complying with Lt. Avery’s orders. After the second burst of pepper spray, Burns

complied with Lt. Avery’s order to strip down and eventually he squats and coughs. At

that point, Burns is told to put his underwear back on. Once Burns has his underwear

back on, he is then handcuffed. After Inmate Phillips squatted, coughed, and had is

underwear back on, he too was handcuffed. Once both inmates were cuffed the cell door

was opened and both men were taken to the showers. As a result of the incident, Lt.

Avery charged Burns with violating the following prison rules: 4-4 Battery- Use of Force

on Staff; 4-17, Throwing/Ejecting of Bodily Fluids/ Excrement Striking a Person; 5-3,



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Assault- verbal or written threat; 12-3, Failure to Obey Order of Staff;            and 12-4,

Refusing a Direct Verbal Order. Burns testified that his only physical injury was a

burning sensation on his back, which stopped after about three days.

8.        All proposed stipulations:

          Defendant Avery will stipulate to each of the facts listed in section No. 7 (above).

9.        Issues of fact expected to be contested:

          Whether the facts alleged in Burns’ Complaint are true.

10.       Issues of law expected to be contested:

          A.     Whether Defendant Avery violated Burns’ constitutional rights on April

11, 2017 while extracting him from his cell.

          B.     Whether Burns is entitled to damages.

11.       A list and brief description of all exhibits, documents, charts, graphs, models,
          schematic diagrams, summaries, and similar objects which may be used in
          opening statement, closing argument, or any part of the trial, other than
          solely for impeachment purposes, whether or not they will be offered in
          evidence. Separately designate those documents and exhibits that the
          Defendant expects to offer and those that the party may offer.

          Defendant Avery expects to offer all exhibits except for those indicating “may

offer.”

          A.     The Video filed under seal at Doc. No. 34;

          B.     Burns Disciplinary Violation from April 11, 2017;

          C.     Photographs of the guards who were dashed;

          D.     Relevant portions of Plaintiff’s prison records;

          E.     Relevant portions of Plaintiff’s medical records;

          F.     Relevant ADC policies and procedures, including but not limited to the
                 following:



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                      Administrative Directive 11-24, Searches of Inmates, Unit
                       Searches, and Control of Contraband;

                      Administrative Directive 17-08, Inmate Disciplinary Manual;

                      Administrative Directive 17-06, Use of Force;

         G.    Any document produced during discovery or attached to a pleading; and

         H.    Any exhibit offered by Burns.

12.      The names, addresses, and telephone numbers of witnesses for the
         Defendant, separately identifying witnesses whom the Defendant expects to
         present and those whom the Defendant may call. Designation of witnesses
         whose testimony is expected to be presented via deposition and, if not taken
         stenographically, a transcript of the pertinent portion of the deposition
         testimony.

         Defendant Avery expects to call the following witnesses unless otherwise

designated as “may call.”

         A.    Plaintiff Austin Burns, ADC# 551922
               Tucker Max. Unit
               2501 State Farm Rd.
               Tucker, AR 72168-8713

         B.    Defendant Kedrick Avery
               c/o Assistant Attorney General Vincent P. France
               323 Center Street, Suite 200
               Little Rock, AR 72201
               (501) 682-1314

         C.    Christopher Budnik, ADC Deputy Warden Cummins
               c/o Assistant Attorney General Vincent P. France
               323 Center Street, Suite 200
               Little Rock, AR 72201
               (501) 682-1314

         D.    Kenneth Starks, ADC Captain
               c/o Assistant Attorney General Vincent P. France
               323 Center Street, Suite 200
               Little Rock, AR 72201
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         E.     Jimmy Coleman, ADC Captain (may call)
                c/o Assistant Attorney General Vincent P. France
                323 Center Street, Suite 200
                Little Rock, AR 72201
                (501) 682-1314

         F.     All witnesses named by the Plaintiff, and

         G.     Rebuttal witnesses (if applicable).

13.      The current status of discovery, a precise statement of the remaining
         discovery, and an estimate of the time required to complete discovery.

         The discovery cutoff has passed.

14.      An estimate of the length of trial and suggestions for expediting disposition of
         the action.

         Defendant Avery anticipates this trial will take 1-2 days.

                                               Respectfully submitted,
                                               LESLIE RUTLEDGE
                                               Attorney General

                                       By:     Vincent P. France (Ark Bar No. 2010063)
                                               Assistant Attorney General
                                               Arkansas Attorney General’s Office
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                            CERTIFICATE OF SERVICE

        I, Vincent P. France, Assistant Attorney General, do hereby certify that on this
19th day of August, 2019, I electronically filed the forgoing with the Clerk of the Court
using the CM/ECF system. Electronic notification will be sent to the following:

       Mark Hampton                  Markfhampton@aol.com




                                     By:    Vincent P. France




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